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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                         Plaintiff,             )
                                                )                 8:07CR254
          vs.                                   )
                                                )                   ORDER
JOSE ANTONIO TRISTAN,                           )
                                                )
                         Defendant.             )


       This matter is before the court on the motion [16] of Denise E. Frost for leave to
withdraw as counsel for the defendant. Substitute counsel, Drew H. Kouris, has entered
an entry of appearance [13].

          IT IS ORDERED:

       1. The Motion to Withdraw [16] is granted, and the appearance of Denise E. Frost
is hereby deemed withdrawn.

          2.    The provisions and deadlines set in the case progression order [8] remain in
effect.

          DATED August 1, 2007.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
